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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

John Banks,                                )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )      No.   10 C 5109
                                           )
Asset Acceptance, LLC, a Delaware          )
limited liability company and Northland    )
Group, Inc., a Minnesota corporation,      )
                                           )
       Defendants.                         )      Jury Demanded

                                       COMPLAINT

       Plaintiff, John Banks, brings this action under the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendants’ debt collection

actions violated the FDCPA, and to recover damages for Defendants’ violations of the

FDCPA, and alleges:

                               JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) parts of the acts and

transactions occurred here; and, B) Defendants reside and transact business here.

                                          PARTIES

       3.      Plaintiff, John Banks ("Banks"), is a citizen of the State of Massachusetts,

from whom Defendants attempted to collect a delinquent consumer debt owed for an

American Express credit card, which was then allegedly owed to a bad debt buyer,

Asset Acceptance. These collection actions took place despite the fact that he had told
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the Defendants that he refused to pay the debt and was represented by the legal aid

attorneys at the Chicago Legal Clinic's Legal Advocates for Seniors and People with

Disabilities program ("LASPD"), located in Chicago, Illinois.

       4.     Defendant, Asset Acceptance, LLC (“Asset Acceptance”), is a Delaware

limited liability company that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, directly or indirectly, delinquent consumer debts. Asset operates a

nationwide delinquent debt collection business from its offices in nine different states,

including a call center in Chicago, Illinois, and attempts to collect debts from consumers

in virtually every state, including consumers in the State of Illinois, see, printout from

Asset’s web site, attached as Exhibit A. In fact, Defendant Asset Acceptance was

acting as a debt collector, as that term is defined in the FDCPA, as to the delinquent

consumer debt it attempted to collect from Plaintiff.

       5.     Defendant Asset Acceptance is licensed to conduct business in the State

of Illinois and maintains a registered agent within the State of Illinois, see, record from

the Illinois Secretary of State, attached as Exhibit B. In fact, Defendant Asset

Acceptance conducts extensive and substantial business in Illinois by collecting

delinquent consumer debts from thousands of Illinois consumers via collection letters

sent to Illinois, through collection phone calls made from its Illinois’ call center, and

through thousands of collection lawsuits it files in Illinois’ court system.

       6.     Defendant Asset Acceptance is licensed as a debt collection agency in the

State of Illinois, see, record from the Illinois Division of Professional Regulation,

attached as Exhibit C. In fact, Defendant Asset Acceptance acts as a collection agency



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in Illinois.

        7.     Defendant Asset Acceptance is a bad debt buyer that buys large portfolios

of defaulted consumer debts for pennies on the dollar, which it then collects upon, at

times through other collection agencies, such as Defendant Northland.

        8.     Defendant, Northland Group, Inc. (“Northland”), is a Minnesota corporation

that acts as a debt collector, as defined by § 1692a of the FDCPA, because it regularly

uses the mails and/or the telephone to collect, or attempt to collect, directly or indirectly,

delinquent consumer debts. In fact, Defendant Northland was acting as a debt

collector, as that term is defined in the FDCPA, as to the delinquent consumer debt it

attempted to collect from Plaintiff.

        9.     Defendant Northland is licensed to do business in the State of Illinois and

maintains a registered agent within the State of Illinois, see, record from the Illinois

Secretary of State, attached as Exhibit D. In fact, Defendant Northland conducts

extensive and substantial business in Illinois.

        10.    Defendant Northland is licensed as a debt collection agency in the State of

Illinois, see, record from the Illinois Division of Professional Regulation, attached as

Exhibit E. In fact, Defendant Northland acts as a collection agency in Illinois.

                                FACTUAL ALLEGATIONS

        11.    Mr. Banks is a disabled senior citizen, with limited assets and income, who

fell behind on paying his bills, including a debt he owed for an American Express credit

card. At some point in time after that debt became delinquent, Defendant Asset

Acceptance bought Mr. Banks’ American Express debt. When Defendant Asset

Acceptance began trying to collect this debt from him, by having another collection



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agency, FMS, Inc., send him an initial collection letter, dated August 5, 2009, he sought

the assistance of the legal aid attorneys at the Chicago Legal Clinic’s LASPD program,

regarding his financial difficulties and Defendants’ collection actions. A copy of this

collection letter is attached as Exhibit F.

       12.    Accordingly, on September 27, 2009, one of Mr. Banks' attorneys at

LASPD informed Defendant Asset Acceptance, in writing, through its agent, FMS, that

Mr. Banks was represented by counsel, and directed Asset Acceptance to cease

contacting him, and to cease all further collection actions because Mr. Banks was

forced, by his financial circumstances, to refuse to pay his unsecured debt. Copies of

this letter and fax confirmation are attached as Exhibit G.

       13.    Nonetheless, despite being advised that Mr. Banks was represented by

counsel and refused to pay the debt, Defendant Asset Acceptance had Defendant

Northland send Mr. Banks collection letters, dated May 17, 2010 and June 15, 2010,

which demanded payment of the Asset/American Express debt. Copies of these letters

are attached as Exhibits H and I, respectively.

       14.    Accordingly, on July 2, 2010, Mr. Banks’ attorneys at LASPD had to yet

again inform Defendant Asset Acceptance, this time through Defendant Northland, that

its must cease collections and cease communications. Copies of this letter and fax

confirmation are attached as Exhibit J.

       15.    Defendants’ collection actions complained of herein (Exhibits H and I)

occurred within one year of the date of this Complaint.




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      16.    Defendants’ collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                     COUNT I
                     Violation Of § 1692c(c) Of The FDCPA --
            Failure To Cease Communications And Cease Collections

      17.    Plaintiff adopts and realleges ¶¶ 1-16.

      18.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt which the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

      19.    Here, the letters from Mr. Banks' agent, LASPD, told Defendants to cease

communications and to cease collections. By continuing to communicate regarding this

debt and demanding payment, Defendants violated § 1692c(c) of the FDCPA.

      20.    Defendants’ violations of § 1692c(c) of the FDCPA render them liable for

statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      21.    Plaintiff adopts and realleges ¶¶ 1-16.

      22.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).




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      23.    Defendants knew, or readily could have known, that Mr. Banks was

represented by counsel in connection with this debt because his attorneys at LASPD

had informed Defendant Asset Acceptance, in writing, through its agent, that Mr. Banks

was represented by counsel, and had demanded a cessation of communications with

Mr. Banks. By sending collection letters to Mr. Banks, despite being advised that he

was represented by counsel, Defendants violated § 1692c(a)(2) of the FDCPA.

      24.    Defendants’ violations of § 1692c(a)(2) of the FDCPA render them liable

for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                 PRAYER FOR RELIEF

      Plaintiff, John Banks, prays that this Court:

      1.     Find that Defendants’ debt collection actions violated the FDCPA;

      2.     Enter judgment in favor of Plaintiff Banks, and against Defendants, for

statutory damages, costs, and reasonable attorneys’ fees as provided by § 1692k(a) of

the FDCPA; and,

      3.     Grant such further relief as deemed just.

                                    JURY DEMAND

      Plaintiff, John Banks, demands trial by jury.

                                                John Banks,


                                                By: /s/ David J. Philipps___
                                                One of Plaintiff's Attorneys


Dated: August 13, 2010




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